AO 440 (Rev. 01/09)
               Case Summons in a Civil Action - MIWD (Rev. 07/15)ECF No. 2,
                       1:24-cv-00021-RJJ-RSK                                                         PageID.18 Filed 01/08/24 Page 1 of 1

                       SUMMONS IN A CIVIL ACTION
     UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF MICHIGAN
                     RILEY PRESCOTT                                                                              Case No. 24-cv-00021
                                                                                                                 Hon.
                                                                                               TO: BLUE WATER GRILL MANAGEMENT CO., LLC
                                  v.
                                                                                          ADDRESS:
                                                                                                           GREGORY S. GILMORE - Resident Agenty
  BLUE WATER GRILL MANAGEMENT CO., LLC                                                                     5180 NORTHLAND DR NE
                                                                                                           GRAND RAPIDS, MI 49525


A lawsuit has been filed against you.                                                                PLAINTIFF OR PLAINTIFF’S ATTORNEY NAME AND ADDRESS
                                                                                                       Jennifer L. McManus (P65976)
                                                                                                       Fagan McManus, P.C.
YOU ARE HEREBY SUMMONED and required to serve                                                          25892 Woodward Avenue
upon plaintiff, an answer to the attached complaint or a motion                                        Royal Oak, MI 48067-0910
under Rule 12 of the Federal Rules of Civil Procedure within                                           (248) 542-6300 jmcmanus@faganlawpc.com
            days after service of this sum mons on y ou (not                                         CLERK OF COURT
counting the day you received it). If y ou fail to respond,
judgment by default will be entered against you for the relief
demanded in the complaint. You must also file your answer
or motion with the Court.
The Court has offices in the following locations:

   399 Federal Building, 110 Michigan St., NW, Grand Rapids, MI 49503
 P.O. Box 698, 330 Federal Building, Marquette, MI 49855
   107 Federal Building, 410 W. Michigan Ave., Kalamazoo, MI 49007
   113 Federal Building, 315 W. Allegan, Lansing, MI 48933

                                                                                                                                                                      January 08, 2024
                                                                                                       By: Deputy Clerk                                                    Date


                                                                                  PROOF OF SERVICE
This summons for               BLUE WATER GRILL MANAGEMENT CO., LLC                                                  was received by me on                                             .
                                             (name of individual and title, if any)                                                                               (date)


 I personally served the summons on the individual at
on                                .                                                                                         (place where served)
                      (date)


  I left the summons at the individual’s residence or usual place of abode with                                                                                               , a person
                                                                                                                            (name)

of suitable age and discretion who resides there, on                                                            , and mailed a copy to the individual’s last known address.
                                                                                          (date)


  I served the summons on                                                                                                         , who is designated by law to accept service
                                                                            (name of individual)

of process on behalf of                                                                                                                        on                                         .
                                                                            (name of organization)                                                                (date)


  I returned the summons unexecuted because                                                                                                                                            .
  Other (specify)                                                                                                                                                                     .

      My fees are $                                       for travel and $                                           for services, for a total of $                                    .
I declare under the penalty of perjury that this information is true.
Date:
                                                                                                                                       Server’s signature

Additional information regarding attempted service, etc.:
                                                                                                                                Server’s printed name and title



                                                                                                                                     Server’s address
